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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION                               ENTERED
                                                                            09/28/2020
                                        )
In re:                                  )     Chapter 11
                                        )
HORNBECK OFFSHORE SERVICES,             )     Case No. 20-32679 (DRJ)
INC.,                                   )
                                        )
                     Debtor.            )     (Jointly Administered)
                                        )
Tax I.D. No. XX-XXXXXXX                 )
                                        )
In re:                                  )     Chapter 11
                                        )
ENERGY SERVICES PUERTO RICO,            )     Case No. 20-32680 (DRJ)
LLC,                                    )
                                        )
                     Debtor.            )     (Jointly Administered)
                                        )
Tax I.D. No. XX-XXXXXXX                 )
                                        )
In re:                                  )     Chapter 11
                                        )
HOI HOLDING, LLC,                       )     Case No. 20-32681 (DRJ)
                                        )
                     Debtor.            )     (Jointly Administered)
                                        )
Tax I.D. No. XX-XXXXXXX                 )
                                        )
In re:                                  )     Chapter 11
                                        )
HORNBECK OFFSHORE                       )     Case No. 20-32682 (DRJ)
INTERNATIONAL, LLC,                     )
                                        )
                     Debtor.            )     (Jointly Administered)
                                        )
Tax I.D. No. XX-XXXXXXX                 )
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                                        )
In re:                                  )     Chapter 11
                                        )
HORNBECK OFFSHORE NAVEGACAO,            )     Case No. 20-32683 (DRJ)
LTDA.,                                  )
                                        )
                     Debtor.            )     (Jointly Administered)
                                        )
Tax I.D. No. XX-XXXXXXX                 )
                                        )
In re:                                  )     Chapter 11
                                        )
HORNBECK OFFSHORE OPERATORS,            )     Case No. 20-32684 (DRJ)
LLC,                                    )
                                        )
                     Debtor.            )     (Jointly Administered)
                                        )
Tax I.D. No. XX-XXXXXXX                 )
                                        )
In re:                                  )     Chapter 11
                                        )
HORNBECK OFFSHORE SERVICES,             )     Case No. 20-32685 (DRJ)
LLC,                                    )
                                        )
                     Debtor.            )     (Jointly Administered)
                                        )
Tax I.D. No. XX-XXXXXXX                 )
                                        )
In re:                                  )     Chapter 11
                                        )
HORNBECK OFFSHORE                       )     Case No. 20-32686 (DRJ)
TRANSPORTATION, LLC,                    )
                                        )
                     Debtor.            )     (Jointly Administered)
                                        )
Tax I.D. No. XX-XXXXXXX                 )
                                        )
In re:                                  )     Chapter 11
                                        )
HORNBECK OFFSHORE TRINIDAD &            )     Case No. 20-32687 (DRJ)
TOBAGO, LLC,                            )
                                        )
                     Debtor.            )     (Jointly Administered)
                                        )
Tax I.D. No. XX-XXXXXXX                 )
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                                        )
In re:                                  )     Chapter 11
                                        )
HOS DE MEXICO II, S. DE R.L. DE C.V.,   )     Case No. 20-32689 (DRJ)
                                        )
                     Debtor.            )     (Jointly Administered)
                                        )
Tax I.D. No. XX-XXXXXXX                 )
                                        )
In re:                                  )     Chapter 11
                                        )
HOS DE MEXICO, S. DE R.L. DE C.V.,      )     Case No. 20-32688 (DRJ)
                                        )
                     Debtor.            )     (Jointly Administered)
                                        )
Tax I.D. No. XX-XXXXXXX                 )
                                        )
In re:                                  )     Chapter 11
                                        )
HOS HOLDING, LLC,                       )     Case No. 20-32690 (DRJ)
                                        )
                     Debtor.            )     (Jointly Administered)
                                        )
Tax I.D. No. XX-XXXXXXX                 )
                                        )
In re:                                  )     Chapter 11
                                        )
HOS PORT, LLC,                          )     Case No. 20-32691 (DRJ)
                                        )
                     Debtor.            )     (Jointly Administered)
                                        )
Tax I.D. No. XX-XXXXXXX                 )
                                        )
In re:                                  )     Chapter 11
                                        )
HOS-IV, LLC,                            )     Case No. 20-32692 (DRJ)
                                        )
                     Debtor.            )     (Jointly Administered)
                                        )
Tax I.D. No. XX-XXXXXXX                 )
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             FINAL DECREE CLOSING CERTAIN OF THE CHAPTER 11 CASES
                                               312
                              (Re: Docket No. _____)

        Upon the motion (the “Motion”)1 of the above-captioned reorganized debtors and debtors

in possession (collectively, the “Reorganized Debtors”) for the entry of a final decree (this “Final

Decree”) closing certain of these chapter 11 cases (the “Cases”), other than the case of Hornbeck

Offshore Services, LLC, In re Hornbeck Offshore Services, LLC, Case No. 20-32685 (DRJ), (the

“Remaining Case”), all as more fully set forth in the Motion; and this Court having jurisdiction

over this matter pursuant to 28 U.S.C. § 1334; and this Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that it may enter a final

order consistent with Article III of the United States Constitution; and this Court having found that

venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and this Court having found that the relief requested in the Motion is in the best interests

of the Reorganized Debtors’ estates, their creditors, and other parties in interest; and this Court

having found that the Reorganized Debtors’ notice of the Motion and opportunity for a hearing on

the Motion were appropriate and no other notice need be provided; and this Court having reviewed

the Motion; and this Court having determined that the legal and factual bases set forth in the

Motion establish just cause for the relief granted herein; and upon all of the proceedings had before

this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

        1.       The following chapter 11 cases of the Reorganized Debtors (the “Affiliate Cases”)

are hereby closed; provided that this Court shall retain jurisdiction as provided in the Order (I)

Approving the Debtors’ Disclosure Statement For, and Confirming, the Debtors’ Joint


1
    Capitalized terms used in this Final Decree but not immediately defined have the meanings given to them in the
    Motion.
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Prepackaged Chapter 11 Plan of Reorganization and (II) Granting Related Relief (the

“Confirmation Order”) and this Final Decree:

                                Debtor                                     Case No.
        1.      Hornbeck Offshore Services, Inc.                        20-32679 (DRJ)
        2.      Energy Services Puerto Rico, LLC                        20-32680 (DRJ)
        3.      HOI Holding, LLC                                        20-32681 (DRJ)
        4.      Hornbeck Offshore International, LLC                    20-32682 (DRJ)
        5.      Hornbeck Offshore Navegacao, Ltda.                      20-32683 (DRJ)
        6.      Hornbeck Offshore Operators, LLC                        20-32684 (DRJ)
        7.      Hornbeck Offshore Transportation, LLC                   20-32686 (DRJ)
        8.      Hornbeck Offshore Trinidad & Tobago, LLC                20-32687 (DRJ)
        9.      HOS de Mexico, S. de R.L. de C.V.                       20-32688 (DRJ)
        10.     HOS de Mexico II, S. de R.L. de C.V.                    20-32689 (DRJ)
        11.     HOS Holding, LLC                                        20-32690 (DRJ)
        12.     HOS Port, LLC                                           20-32691 (DRJ)
        13.     HOS-IV, LLC                                             20-32692 (DRJ)

       2.      The Clerk of this Court shall enter this final decree individually on each of the

dockets of the above-captioned chapter 11 cases and each of the dockets of the Affiliate Cases

shall be marked as “Closed.”

       3.      The case of Hornbeck Offshore Services, LLC, In re Hornbeck Offshore Services,

LLC, Case No. 20-32685 (DRJ), (the “Remaining Case”) shall remain open pending further order

of the Court, and, from and after the date of entry of this Final Decree, all motions, notices and

other pleadings relating to any of the Debtors or the Reorganized Debtors shall be filed,

administered, and adjudicated in the Remaining Case without the need to reopen the Affiliate

Cases, and the Court shall retain jurisdiction over the Remaining Matters, whether or not they

pertain to the Remaining Case or Affiliate Cases.

       4.      For the avoidance of doubt, the closure of the Affiliate Cases shall be without

prejudice to and with full reservation of the parties’ rights in the Turnover Proceeding and the Auto
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Stay Motion (including for the avoidance of doubt, the right of Hornbeck Offshore Services, LLC

(as Debtor / Plaintiff) to amend the Complaint in accordance with the Bankruptcy Rules), as well

as any and all related claims (including, without limitation, with respect to Gulf Island’s ongoing

possession of the Vessels (as defined in the Complaint)), and the Court shall retain jurisdiction

thereover.

             5.    Paragraph 4 of the Joint Administration Order is hereby amended to provide that

the Cases will be jointly administered under Case No. 20-32685 (DRJ), In re Hornbeck Offshore

Services, LLC. The following caption shall be used in the case going forward:


                         IN THE UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    HORNBECK OFFSHORE SERVICES, LLC., et                            )    Case No. 20-32685 (DRJ)
    al.,1
                                                                    )
                                      Reorganized Debtors.          )
                                                (Jointly Administered)
                                                                    )
                                                (Formerly Jointly Administered
                                                under Lead Case: Hornbeck
                                                Offshore Services, Inc., Case No.
                                                20-32679)
___________________________________________________
1
      Due to the large number of Reorganized Debtors in these chapter 11 cases, for which joint administration has
      been granted, a complete list of the Debtor entities and the last four digits of their federal tax identification
      numbers is not provided herein. A complete list may be obtained on the website of the Reorganized Debtors’
      proposed claims and noticing agent at http://cases.stretto.com/hornbeck. The location of the Reorganized
      Debtors’ service address is: 8 Greenway Plaza, Suite 1525, Houston, Texas 77046. On [●], the Court entered an
      order [Docket No. [●]] closing the chapter 11 cases of all Reorganized Debtors other than Case No. 20-32685
      (DRJ), In re Hornbeck Offshore Services, LLC, and the case of Debtor HOS WELLMAX Services, LLC, which
      was dismissed by order of the Court [Docket No. [●]].
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       6.      The Affiliate Debtors shall file a post-confirmation report through the date of entry

of the Final Decree for the Affiliate Debtors and shall serve a true and correct copy of said

statements on the U.S. Trustee.

       7.      The Debtors or Reorganized Debtors shall pay all fees due and payable pursuant to

28 U.S.C. § 1930(a)(6)(A) and (B) in connection with the Affiliate Cases. This Court shall retain

jurisdiction to enforce payment of fees assessed under 28 U.S.C. § 1930(a)(6)(A) and (B).

       8.      Quarterly disbursements for the Remaining Case will be reported pending the entry

of a final decree by this Court closing the Remaining Case.

       9.      Entry of this Final Decree is without prejudice to (a) the rights of the Debtors or the

Reorganized Debtors or any party in interest to seek to reopen any of the Cases for cause pursuant

to section 350(b) of the Bankruptcy Code and (b) the rights of the Debtors or the Reorganized

Debtors to dispute, before the Court or in an appropriate non-bankruptcy forum, all claims that

were filed against the Debtors in the Cases as contemplated by the Plan and the Confirmation

Order. Notwithstanding anything to the contrary contained in the Plan, any failure of the Debtors

or the Reorganized Debtors to file an objection to any claim in the Cases shall not constitute

allowance of the claim and shall not result in such claim being deemed Allowed (as defined in the

Plan) against any Debtor.

       10.     Notwithstanding the relief granted in this Final Decree and any actions taken

pursuant to such relief, nothing in this Final Decree shall be deemed: (a) an admission as to the

amount of, basis for, or validity of any claim against a Debtor entity under the Bankruptcy Code

or other applicable nonbankruptcy law; (b) a waiver of the Debtors’, Reorganized Debtors’ or any

other party in interest’s right to dispute any claim on any grounds; (c) a promise or requirement to

pay any claim; (d) an implication or admission that any particular claim is of a type specified or
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defined in the Motion or any order granting the relief requested by the Motion or a finding that

any particular claim is an administrative expense claim or other priority claim; (e) a request or

authorization to assume, adopt, or reject any agreement, contract, or lease pursuant to section 365

of the Bankruptcy Code; (f) an admission as to the validity, priority, enforceability, or perfection

of any lien on, security interest in, or other encumbrance on property of the Debtors’ estates;

(g) a waiver or limitation of the Debtors’, Reorganized Debtors’ or any other party in interest’s,

rights under the Bankruptcy Code or any other applicable law; or (h) a concession by the Debtors

that any liens (contractual, common law, statutory, or otherwise) that may be satisfied pursuant to

the relief requested in the Motion are valid, and the rights of all parties in interest are expressly

reserved to contest the extent, validity, or perfection or seek avoidance of all such liens.

        11.    The Reorganized Debtors are authorized to take all actions necessary to effectuate

the relief granted in this Final Decree in accordance with the Motion.

        12.    The terms and conditions of this Final Decree shall be immediately effective and

enforceable upon entry.

        13.    This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Final Decree.

 Houston, Texas
 Dated: Signed:
        ___________, 2020 23, 2020.
                September
                                                    DAVID R. JONES
                                                     ____________________________________
                                                    UNITED
                                                     DAVIDSTATES   BANKRUPTCY JUDGE
                                                            R. JONES
                                                       UNITED STATES BANKRUPTCY JUDGE




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